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                 THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

DIGITAL VERIFICATION
SYSTEMS, LLC,
            Plaintiff,
      v.
KDAN MOBILE SOFTWARE                           C.A. No.: 1:23-cv-00455-CFC
AMERICA, INC.

            Defendant.




             NOTICE OF DISMISSAL WITHOUT PREJUDICE


      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and 41(a)(1)(B), Plaintiff Digital

Verification Systems, LLC respectfully submits this notice of voluntary dismissal

WITHOUT PREJUDICE of Defendant Kdan Mobile Software America, Inc.



Dated: May 30, 2023                         Respectfully Submitted,

                                            /s/ John C. Phillips, Jr.
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